1:18-cv-01253-JES # 18   Page 1 of 10                                  E-FILED
                                        Thursday, 24 January, 2019 02:12:37 PM
                                                  Clerk, U.S. District Court, ILCD
1:18-cv-01253-JES # 18   Page 2 of 10
1:18-cv-01253-JES # 18   Page 3 of 10
1:18-cv-01253-JES # 18   Page 4 of 10
1:18-cv-01253-JES # 18   Page 5 of 10
1:18-cv-01253-JES # 18   Page 6 of 10
1:18-cv-01253-JES # 18   Page 7 of 10
1:18-cv-01253-JES # 18   Page 8 of 10
1:18-cv-01253-JES # 18   Page 9 of 10
1:18-cv-01253-JES # 18   Page 10 of 10
